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              In the United States District Court
              for the Southern District of Georgia
                       Waycross Division
UNITED STATES OF AMERICA

v.

                                                              No.CR521-9
CHARLES MICHAEL KING.




                                         ORDER



       The   Court     ORDERS    the    United    States   Probation    Office       to

file   the Initial Presentence Investigation Report (PSR) as to

Charles      Michael    King     on     the    record.     Counsel     will    only

receive      PSR     reports     electronically via CM/ECF and will not

receive a paper copy of any report. The Court ORDERS counsel and

the parties to maintain the confidentiality of the PSR and any

objections and addenda thereto. The PSR and any objections and

addenda      thereto    should    only    be     disclosed to and reviewed by

Defendant, counsel for Defendant, and United                 States     Attorney’s

Office,      the   United      States    Probation    Office, and the Court.

If Defendant is detained, defense counsel may print a copy of

the Presentence Investigation Report and any addenda thereto to

review with Defendant. However, counsel shall not leave a copy

of the Presentence Investigation Report and any
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addenda thereto with a detained defendant. Should counsel desire

to leave the Presentence Investigation Report or a portion thereof

with a detained defendant, counsel must file a motion with the

Court. The Court ORDERS counsel for each party to state in writing

within   14   days     after     receiving       the   Initial      Presentence

Investigation Report, and file on the record in a restricted manner

any objections to the Report, including objections to material

information, sentencing guideline ranges, and policy statements

contained in or omitted from the Report. If any party has no

objections,   the    party   shall   file    a   written    statement     of      no

objections on the record in a restricted manner within 14 days of

receiving the Initial Report. To be clear, within 14 days of

receiving the Initial Report, counsel must state in writing and

file on the record in a restricted manner whether the party has

objections or does not have objections to the Report.




     SO ORDERED, this 18th day of July, 2023.




                               HON.
                                ON.
                                  . LISA GODBEY
                                         G DBEY
                                         GO   Y WOOD, JUDGE
                                                      JUDG
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
